Case 2:24-cv-00434-RJS-DBP               Document 18-1         Filed 10/07/24      PageID.622        Page 1
                                                 of 3


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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


  Kristin Pilkington, individually and on behalf of all   DECLARATION OF ALEXANDRA
  others similarly situated,                              SANDLER
                            Plaintiff,
                                                          Case No. 2:24-cv-00434-DBP
  vs.
  Gorsuch, LTD.,                                          Judge Robert J. Shelby
                                                          Magistrate Judge Dustin B. Pead
                            Defendant.



           Alexandra Sandler, of full age, hereby submits the following Declaration pursuant to 28 U.S.C. §
 1746.
        1. I am an Associate of the law firm of Gordon Rees Scully Mansukhani, LLP. I am responsible for

 the defense of this action, and possess personal knowledge regarding the within matter. I make this

 Declaration in support of Defendant Gorsuch, Ltd’s (“Defendant”) motion to dismiss Plaintiff’s Complaint
Case 2:24-cv-00434-RJS-DBP               Document 18-1           Filed 10/07/24         PageID.623         Page 2
                                                 of 3


 for lack of subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1); or, in the alternative, to transfer

 venue to the U.S. District Court of Colorado.

     2. Defendant is a Colorado corporation with its headquarters and principal place of business in

 Colorado. It is a retail company that offers ski and mountain apparel, ski equipment, regular apparel,

 footwear, accessories, and home furnishings in stores and on its website at www.gorsuch.com (the

 “Website”).

     3. Use of the Website, including making purchases via the Website, is governed by Defendant’s

 Terms of Use. The full text of the Terms of Use is posted on https://www.gorsuch.com/policies/terms-of-

 service, and it can be accessed by clicking on a hyperlink titled “Terms of Use,” which is located on the

 bottom left corner of each web page contained on the Website. The hyperlink is black, in contrast with light

 yellow background of each web page.

     4. Defendant’s Terms of Use, which was in effect when Plaintiff made a purchase from Defendant’s

 Website, includes a governing law clause, a forum selection clause, and a class action waiver. A true and

 correct copy of the governing law clause, forum selection clause, and class action waiver is attached hereto

 as Exhibit A.

     5. In order to place an order on Defendant’s Website, consumers are required to go through a multi-

 step checkout process, all while navigating through three different web pages. On the first page, consumers

 are required to click a “Continue to Shipping” button, followed by a “Continue to Payment” button,

 followed by a “Pay Now” button. Gorsuch’s Terms of Use is accessible through a hyperlink located below

 each button. The hyperlink is underlined. By clicking on the Terms of Use hyperlink, a pop-up appears

 displaying the Terms of Use, allowing consumers to review the terms without being directed to another

 page. A true and correct copy of the multi-step checkout flow is attached hereto as Exhibit B.


         I declare under penalty of perjury that the foregoing is true and correct.
Case 2:24-cv-00434-RJS-DBP   Document 18-1      Filed 10/07/24   PageID.624   Page 3
                                     of 3


                                     GORDON REES SCULLY MANSUKHANI, LLP


                                 By: /s/ Alexandra Sandler
                                     Alexandra Sandler, Esq.


 Dated: October 4, 2024
